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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  DOUG LONGHINI,

              Plaintiff,
  v.

  SPG DORAL LAND PARTNERS, LLC, a
  Foreign Limited Liability Company; and
  SPG DORAL RETAIL PARTNERS, LLC,
  a Foreign Limited Liability Company,

          Defendants.
  ____________________________________/

                                               COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues SPG DORAL LAND PARTNERS,

  LLC and SPG DORAL RETAIL PARTNERS, LLC (hereinafter “Defendants”), and as grounds

  alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, with a
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  residence in Miami, Miami-Dade County, Florida, and is otherwise sui juris.

          5.        At all times material, Defendant, SPG DORAL LAND PARTNERS, LLC, owned

  and operated a commercial retail shopping center at 10600 NW 19th Street, Miami, Florida

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida.

          6.        At all material times Defendant SPG DORAL LAND PARTNERS, LLC, was a

  foreign limited liability Company with its principal place of business in Boca Raton, Florida.

          7.        At all times material, Defendant, and SPG DORAL RETAIL PARTNERS, LLC,

  leased and operated a commercial retail shopping center at 10600 NW 19th Street, Miami, Florida

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade County, Florida.

          8.        At all material times Defendant SPG DORAL RETAIL PARTNERS, LLC, was

  a foreign limited liability company with its principal place of business in Boca Raton, Florida.

          9.        The Defendant are affiliated entities which are managed by SPG Manager, LLC,

  itself another affiliated entity.

          10.       Venue is properly located in the Southern District of Florida because Defendants

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                      FACTUAL ALLEGATIONS

          11.       Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendants have yet to make its facilities accessible to individuals with

  disabilities.
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         12.        Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendants continue to discriminate against

  people who are disabled in ways that block them from access and use of Defendants’ businesses

  and properties.

         13.        The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         14.        Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping

  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         15.        Defendants, SPG DORAL LAND PARTNERS, LLC and SPG DORAL RETAIL

  PARTNERS, LLC, own, operate and oversee the Commercial Property, and its general parking

  lot and parking spots.

         16.        The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         17.        The individual Plaintiff visits the Commercial Property and the businesses

  therein, regularly, to include a visit to the Commercial Property and businesses located within the

  Commercial Property on or about October 16, 2019, and encountered multiple violations of the

  ADA that directly affected his ability to use and enjoy the Commercial Property and businesses

  located therein. He often visits the Commercial Property and businesses located within the
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  Commercial Property in order to avail himself of the goods and services offered there, and because

  it is approximately nine (9) miles from his residence, and is near his friends’ residences as well as

  other businesses and restaurants he frequents as a patron. He plans to return to the Commercial

  Property and the businesses within the Commercial Property within thirty (30) days of the filing

  of this Complaint.

         18.       Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ place of public accomodation and businesses located within the Commercial Property

  for the intended purposes because of the proximity to his and his friends’ residences and other

  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within thirty (30) days from the filing of this

  Complaint.

         19.       The Plaintiff found the Commercial Property, and businesses located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and the businesses located within the Commercial Property

  and wishes to continue his patronage and use of each of the premises.

         20.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and the businesses located within the Commercial

  Property. The barriers to access at Defendants’ Commercial Property, and the businesses located

  within the Commercial Property have each denied or diminished Plaintiff’s ability to visit the

  Commercial Property, and the businesses located within the Commercial Property, and have

  endangered his safety in violation of the ADA. The barriers to access, which are set forth below,

  have likewise posed a risk of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG
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  LONGHINI, and others similarly situated.

         21.        Defendants, SPG DORAL LAND PARTNERS, LLC and SPG DORAL RETAIL

  PARTNERS, LLC, own and operate a place of public accommodation as defined by the ADA and

  the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104.             Defendants, SPG

  DORAL LAND PARTNERS, LLC and SPG DORAL RETAIL PARTNERS, LLC are responsible

  for complying with the obligations of the ADA. The place of public accommodation that

  Defendants, SPG DORAL LAND PARTNERS, LLC and SPG DORAL RETAIL PARTNERS,

  LLC, own and operate the Commercial Property and businesses located at 10600 NW 19th Street,

  Miami, Florida.

         22.        Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Paragraph 26 of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and the businesses located within the Commercial Property, in

  violation of the ADA. Plaintiff desires to visit the Commercial Property and businesses located

  therein, not only to avail himself of the goods and services available at the Commercial Property,

  and the businesses located within the Commercial Property, but to assure himself that the

  Commercial Property and the businesses located within the Commercial Property are in

  compliance with the ADA, so that he and others similarly situated will have full and equal

  enjoyment of the Commercial Property, and the businesses located within the Commercial

  Property without fear of discrimination.

         23.        Defendant, SPG DORAL LAND PARTNERS, LLC, as landlord and owner of
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  the Commercial Property, is responsible for all ADA violations listed in Paragraph 26 of this

  Complaint. Defendant, and SPG DORAL RETAIL PARTNERS, LLC, as tenant and owner of the

  subject Commercial Property, is jointly and severally liable for the ADA violations listed in

  Paragraph 26 of this Complaint, with its landlord SPG DORAL LAND PARTNERS, LLC.

         24.        Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property, but

  not necessarily limited to the allegations in Paragraph 26 of this Complaint.         Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

  Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

  not only to avail himself of the goods and services available at the Commercial Property and the

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property, and the businesses located within the Commercial Property are in compliance with the

  ADA, so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and the businesses located within the Commercial Property without fear of

  discrimination.

         25.        Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and the businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

         26.        Defendants, SPG DORAL LAND PARTNERS, LLC and SPG DORAL RETAIL

  PARTNERS, LLC, have discriminated, and continue to discriminate, against Plaintiff in violation
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    of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26,

    1993, if a Defendants has 10 or fewer employees and gross receipts of $500,000 or less). A list

    of the violations that Plaintiff encountered during his visit to the Commercial Property, include but

    are not limited to, the following:

    Common Areas

  i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

       located on an excessive slope. Violation: There are accessible parking spaces located on an

       excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

 ii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.

           A. Entrance Access and Path of Travel

  i.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff could not traverse through areas of the facility, as the required 36” path is not

       provided. Violation: A continuous path of travel connecting all essential elements of the

       facility is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and Sections

       206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.
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iii.     The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

         2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

         of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

iv.      The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

         Violation: There are inaccessible routes between sections of the facility. These are violations

         of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

         303, 402 and 403, whose resolution is readily achievable.

 v.      The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

         Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

         of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

         achievable.

vi.      The Plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

         Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

         4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

         resolution is readily achievable.

      Pier 1 Imports

             A. Entrance Access and Path of Travel

  i.     The Plaintiff could not traverse through areas of the store, as the required 36” path isn’t

         provided due to objects that obstruct the path of travel. Violation: There isn’t a continuous path

         of travel connecting all essential elements of the store, in violation of Sections 4.2.1 & 4.3.3

         of the ADAAG, 28 CFR 36.211, and Section 403.5.1 of the 2010 ADA Standards, whose

         resolution is readily achievable.
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          B. Public Restrooms

  i.   There are permanently designated interior spaces without proper signage, violating Section

       4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 ii.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

iii.   The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

       clear floor space. Violation: The required clear floor space is not provided next to the toilet,

       violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

       ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

       12” above a grab bar obstructing its use. Violation: The grab bars do not comply with the

       requirements prescribed in Sections 4.16.4 & 4.26 of the ADAAG and Section 609.3 of the

       2010 ADA Standards, whose resolution is readily achievable.

 v.    The Plaintiff could not use the toilet seat cover dispenser without assistance as it is mounted at

       a location where the clear floor space to access it is not provided. Violation: The clear floor

       space provided at elements in the restroom violates the provisions of Sections 4.2.4 and 4.27.2

       of the ADAAG and Section 305.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.




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 vi.       The Plaintiff had difficulty using the paper towels due to them not being located within a

           dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

           with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

        Office Depot

              A. Public Restrooms

   i.      There are permanently designated interior spaces without proper signage, violating Section

           4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

           whose resolution is readily achievable.

  ii.      The Plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

           operate. Violation: The soap dispensers require a tight grasp to operate in violation of Section

           4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose resolution is

           readily achievable.

 iii.      The Plaintiff could not use the paper towel dispenser without assistance, as it is mounted too

           high. Violation: There are dispensers provided for public use in the restroom, with controls

           outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections

           308 & 309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

vii.       The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

           12” above a grab bar obstructing its use. Violation: The grab bars do not comply with the

           requirements prescribed in Sections 4.16.4 & 4.26 of the ADAAG and Section 609.3 of the

           2010 ADA Standards, whose resolution is readily achievable.

viii.      The Plaintiff could not use the toilet seat cover dispenser without assistance as it is mounted at

           a location where the clear floor space to access it is not provided. Violation: The clear floor

           space provided at elements in the restroom violates the provisions of Sections 4.2.4 and 4.27.2
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         of the ADAAG and Section 305.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

 ix.     The Plaintiff had difficulty using the toilet paper due to the roll not being located within a

         dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

         with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

       Bed Bath & Beyond

            A. Public Restrooms

   i.    There are permanently designated interior spaces without proper signage, violating Section

         4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

         whose resolution is readily achievable.

 ii.     The Plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance is not provided on the push side. Violation: The restroom door does not provide the

         required latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of

         the 2010 ADA Standards, whose resolution is readily achievable.

 iii.    The Plaintiff had difficulty entering the restroom without assistance, as the door threshold is

         too high. Violation: There are threshold rises in excess of ½ inch at the restroom entrances,

         violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

         whose resolution is readily achievable.

 iv.     The Plaintiff could not use the lavatories outside the accessible toilet compartment without

         assistance, as they are mounted too high. Violation: There are lavatories outside accessible

         toilet compartments in public restrooms with the counter surfaces mounted too high, violating

         the requirements in Section 4.19.2 and Figure 31 of the ADAAG and Sections 213.3.4 & 606.3

         of the 2010 ADA Standards, whose resolution is readily achievable.
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 v.      The Plaintiff could not use the accessible toilet compartment door without assistance, as it is

         not self-closing and does not have compliant door hardware. Violation: The accessible toilet

         compartment door does not provide hardware and features that comply with Sections 4.17.5 &

         4.13.9 of the ADAAG and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards, whose

         resolution is readily achievable.

 vi.     The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

         clear floor space. Violation: The required clear floor space is not provided next to the toilet,

         violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

         ADA Standards, whose resolution is readily achievable.

vii.     The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

         required distance from the side wall. Violation: The water closet in the accessible toilet

         compartment is mounted at a non-compliant distance from the wall in violation of Section

         4.17.3 and Figure 30(a) of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose

         resolution is readily achievable.

       Moe’s

               A. Public Restrooms

  i.     The Plaintiff could not enter the restroom, as the required maneuvering clearance was not

         provided due to objects on the floor. Violation: The restroom door does not provide the

         required latch side clearance due to a lack of maintenance violating Section 4.13.6 of the

         ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA Standards, whose resolution

         is readily achievable.

 ii.     The Plaintiff could not use the baby changing table without assistance as the handle is mounted

         too high. Violation: There are elements provided for public use in the restroom, with controls
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         or operating mechanisms outside the reach ranges prescribed in Sections 4.2.5, 4.2.6, and

         4.27.3 of the ADAAG and Sections 308 & 309.3 of the 2010 ADA Standards, whose resolution

         is readily achievable.

 iii.    The Plaintiff could not use the soap dispenser without assistance, as it is mounted too high.

         Violation: There are dispensers provided for public use in the restroom, with controls outside

         the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Sections 308 &

         309.3 of the 2010 ADA Standards, whose resolution is readily achievable.

 iv.     The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not the

         required length and the side grab bar is not at the required location. Violation: The grab bars

         do not comply with the requirements prescribed in Section 4.16.4 & Figure 29 of the ADAAG

         and Section 604.5 of the 2010 ADA Standards, whose resolution is readily achievable.

       Jimmy John’s

            A. Access to Goods and Services

   i.    There is seating provided at the facility that does not comply with the standards prescribed in

         Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

         resolution is readily achievable.

       Fuddruckers

            B. Public Restrooms

   i.    The Plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance is not provided. Violation: The restroom door does not provide the required latch

         side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA

         Standards, whose resolution is readily achievable.


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 ii.    The Plaintiff could not use the accessible toilet compartment door without assistance, as it does

        not have compliant door hardware. Violation: The accessible toilet compartment door does not

        provide hardware and features that comply with Sections 4.17.5 and 4.13.9 of the ADAAG

        and Sections 309.4 and 604.8.1.2 of the 2010 ADA Standards, whose resolution is readily

        achievable.

 iii.   The Plaintiff could not transfer to the toilet without assistance, as a trashcan obstructed the

        clear floor space. Violation: The required clear floor space is not provided next to the toilet,

        violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

        ADA Standards, whose resolution is readily achievable.

 iv.    The Plaintiff could not transfer to the toilet without assistance, as the side grab bar is not at the

        required location. Violation: The grab bars in the accessible toilet compartment do not comply

        with the requirements prescribed in Section 4.17.6 of the ADAAG and Section 604.5.1 of the

        2010 ADA Standards, whose resolution is readily achievable.

                                  RELIEF SOUGHT AND THE BASIS

            27.       The discriminatory violations described in Paragraph 26 are not an exclusive list

    of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

    public accommodation in order to photograph and measure all of the discriminatory acts violating

    the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

    requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

    presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

    enjoyment of the Commercial Business and the businesses located within the Commercial

    Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule 34

    and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial
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   measures necessary to remove same, will require an on-site inspection by Plaintiff’s

   representatives pursuant to Federal Rule of Civil Procedure 34.

          28.          The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   businesses and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          29.          Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          30.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has
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   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

   entitled to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          31.        A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          32.        Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendants has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.

          33.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate its

   businesses, located at and/or within the commercial property located at 10600 NW 19th Street,

   Miami, Florida, the exterior areas, and the common exterior areas of the Commercial Property and

   the businesses located within the Commercial Property, to make those facilities readily accessible

   and useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

   such time as the Defendants cure the violations of the ADA.

          WHEREFORE, The Plaintiff, DOUG LONGHINI, respectfully requests that this
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   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.


   Dated: February 3, 2020
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                                                  By: ___/s/_Anthony J. Perez________
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